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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 HARWICK CHYA ABRAM,

       Plaintiff,

 v.                                                      Case No. 8:16-cv-72-T-60TGW

 ALDI INC. and DAVID BEHM,

       Defendants.
 ________________________________/


                                         ORDER

       This matter is before the Court on Plaintiff’s “Motion to Set Aside Order

 Denying Plaintiff’s Motion to Reopen This Case and Reconsideration of Final

 Judgment,” filed by counsel on May 17, 2019. (Doc. # 96). On May 28, 2019,

 Defendants filed a response to the motion. (Doc. # 97). After reviewing the motion,

 response, court file, and the record, the Court finds as follows:

       Plaintiff originally filed suit asserting various claims against Defendants

 based on alleged racial discrimination in their decision to not hire Plaintiff. On

 August 30, 2017, the Court granted Defendants’ motion for summary judgment, and

 subsequently entered judgment in favor of Defendants on August 31, 2017. (Doc. ##

 85, 86). However, Plaintiff later sought to remand the action to state court and

 reopen discovery. (Doc. ## 88, 89). On May 17, 2018, the Court entered an Order

 denying Plaintiff’s requests for relief. (Doc. # 95).




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       Although unclear, it appears that Plaintiff is now requesting that the Court

 reconsider its August 30, 2017, Order Granting Motion for Summary Judgment, its

 August 31, 2017, Order Granting Final Judgment, and its May 17, 2018, Order

 denying Plaintiff’s motion to remand and reopen discovery. (Doc. # 96). Plaintiff

 cites to Federal Rule of Civil Procedure 60(b)(1) as authority for her motion,

 maintaining that she is entitled to relief from the final judgment due to excusable

 neglect “not entirely directed towards the Plaintiff’s former counsel but the neglect

 in weighing all material facts presented in the Defendant’s Motion for Summary

 Judgment.” Alternatively, Plaintiff seeks relief under Rule 60(b)(6), arguing that

 “exceptional circumstances exist and could be characterized as gross negligence due

 to the lack of presenting a critical material fact for the Court to consider when

 granting Defendant’s Motion for Summary Judgment.”

 Reconsideration of the May 17, 2018, Order

       Upon review, the Court finds that there is no basis to reconsider the Court’s

 May 17, 2018, Order. Initially, the Court finds that Rule 60 is inapplicable because

 it is not a final judgment or order as contemplated by Rule 60. (Doc. # 95).

 However, even if the Court were to consider the motion on the merits, it would deny

 relief. Plaintiff has not actually identified any issues in the May 17, 2018, Order for

 the Court’s reconsideration. The May 17, 2018, Order addressed Plaintiff’s motion

 to remand to state court and motion to reopen discovery following the entry of final

 judgment. (See id.). However, in the instant motion, Plaintiff does not request

 reconsideration of either of these rulings and instead appears to raise new issues



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 related to the August 30, 2017, Order Granting Motion for Summary Judgment and

 August 31, 2017, Final Judgment. (Doc. # 96). Consequently, the Court finds that

 Plaintiff has failed to establish that she is entitled to reconsideration of the Court’s

 May 17, 2018, Order.

 Reconsideration of the August 30, 2017, Order Granting Motion for
 Summary Judgment and August 31, 2017, Final Judgment

       To the extent that Plaintiff requests reconsideration of the August 30, 2017,

 Order Granting Motion for Summary Judgment and August 31, 2017, Final

 Judgment pursuant to Rule 60(b)(1), the Court finds that such request is untimely

 under Rule 60(c), which requires that such a motion be filed no more than one year

 after the entry of judgment. See Fed. R. Civ. P. 60(c).

       To the extent that Plaintiff requests reconsideration pursuant to Rule

 60(b)(6), the Court finds that no relief is warranted. First, the Court notes that “[t]o

 obtain relief from judgment under Rule 60(b)(6), a movant cannot offer reasons for

 relief that could otherwise be considered under one of the more specific provisions of

 Rule 60(b)(1)-(5); in other words, Rule 60(b)(1)-(5) and subsection (b)(6) are

 mutually exclusive.” Lender v. Unum Life Ins. Co. of Am. Inc., 519 F. Supp. 2d

 1217, 1230 (M.D. Fla. 2007). Here, Plaintiff appears to allege two errors – the

 “gross negligence” of former counsel in failing to present the EEO-1 report as an

 issue of material fact precluding summary judgment, and a mistake by the Court in




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 weighing the EEO-1 report. It appears to the Court that the reasons for relief

 proffered by Plaintiff fall within the purview of subsection (b)(1). 1

        Second, a motion filed under Rule 60(b)(6) must be filed within a reasonable

 amount of time, which depends upon the circumstances of the particular case. See

 Farm Credit Bank of Baltimore. v. Ferrera-Goitia, 316 F.3d 62, 66 (1st Cir. 2003).

 Here, the length of the delay – nearly two years – is extreme. See Cotto v. United

 States, 993 F.2d 274, 280 (1st Cir. 1993) (indicating that a motion filed sixteen

 months after the entry of judgment was not filed within a reasonable time); Bey v.

 Carrington Mortg. Servs., LLC, No. 1:15-CV-4135-MHC, 2018 WL 7572694 at *2

 (N.D. Ga. Feb. 15, 2018) (“Plaintiffs have made no showing that their nearly two-

 year delay in filing the present motion was ‘reasonable.’”). Plaintiff’s purported

 reason for the delay – that she was seeking the services of an attorney to file a

 second motion for reconsideration in order to reopen the case – is not reasonable.

        Third, the Court finds that Plaintiff has failed to establish “that the

 circumstances are sufficiently extraordinary to warrant relief.” See Toole v. Baxter

 Healthcare Corp., 235 F.3d 1307, 1317 (11th Cir. 2000). When seeking relief

 pursuant to Rule 60(b)(6), “[t]he party seeking relief has the burden of showing that

 absent such relief, an ‘extreme’ and ‘unexpected’ hardship will result.” Griffin v.

 Swim-Tech Corp., 722 F.2d 677, 680 (11th Cir. 1984). Plaintiff has not provided any



 1The Court notes that “because of the mutual exclusivity of Rule 60(b)’s provisions, relief is
 generally unavailable under subsection (b)(6) for the gross negligence or incompetence of one’s
 attorney.” See Lender, 519 F. Supp. 2d at 1230. The Court further notes that even if former counsel
 erred by not bringing the EEO-1 report to the Court’s attention, the Court actually considered the
 EEO-1 report when evaluating the motion for summary judgment and determined that it did not
 show that the stated reasons offered by Defendants were pretext for race discrimination. (Doc. # 85).

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 convincing reason as to why she should be relieved from the final judgment, or how

 extreme and unexpected hardship will result absent such relief. Instead, Plaintiff

 merely argues that the Court erred by granting final summary judgment; this is not

 a proper basis for a Rule 60(b) motion. See Rease v. Harvey, 376 Fed.Appx. 920, 922

 (11th Cir. 2010) (affirming trial court’s denial of a Rule 60(b) motion where “the

 bulk of [the] motion argues the district court erred by granting summary judgment,”

 and concluding that such “contention is not the proper foundation for a Rule 60(b)

 motion”).

       For these reasons, the motion is denied. Final judgment was entered after

 the Court fully considered the motion for summary judgment. The case should not

 be reopened because Plaintiff disagrees with an adverse ruling. Parties are not

 permitted to use Rule 60 as a substitute for a timely and proper appeal. See St.

 Paul Fire & Marine Ins. Co. v. Lago Canyon, Inc., 666 F. Supp. 2d 1341, 1344 (S.D.

 Fla. 2009) (citing Parks v. U.S. Life & Credit Corp., 677 F.2d 838, 840 (11th Cir.

 1982)). The case remains closed.

       DONE and ORDERED in Chambers, in Tampa, Florida this 5th day of

 August, 2019.




                                                     TOM BARBER
                                                     UNITED STATES DISTRICT JUDGE




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